      Case
       Case2:17-cr-00021-JCM-EJY
            2:17-cr-00021-JCM-GWF Document
                                   Document282  Filed 04/20/18
                                            281 Filed 04/23/18 Page
                                                                Page11ofof33




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 2   Nevada State Bar No. 11479
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 3   Assistant Federal Public Defender
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 5   (775) 321-8451/Tel.
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 6   chris_frey@fd.og

 7   Attorney for DANIEL MARTIN BOYAR

 8
                                UNITED STATES DISTRICT COURT
 9
                                     DISTRICT OF NEVADA
10
11
     UNITED STATES OF AMERICA,                           Case No. 2:17-CR-021-JDM-WGF-1
12
                   Plaintiff,                            STIPULATION TO CONTINUE
13                                                       SENTENCING HEARING
            v.
                                                         (FIRST REQUEST)
14
     DANIEL MARTIN BOYAR,
15
                   Defendant.
16
17
            IT IS HEREBY STIPULATED AND AGREED by and through RENE L.
18
19   VALLADARES, Federal Public Defender and CHRISTOPHER P. FREY, Assistant Federal

20   Public Defender, counsel for DANIEL MARTIN BOYAR and DAYLE ELIESON, United
21   States Attorney, and DANIEL COWHIG, Assistant United States Attorney, counsel for the
22
     UNITED STATES OF AMERICA, that the Sentencing hearing set for May 22, 2018, at 10:00
23
     AM, be vacated and continued to a date and time convenient to the Court but no earlier than
24
25   mid-September, 2018.

26   ///
      Case
       Case2:17-cr-00021-JCM-EJY
            2:17-cr-00021-JCM-GWF Document
                                   Document282  Filed 04/20/18
                                            281 Filed 04/23/18 Page
                                                                Page22ofof33




 1          The continuance is necessary for the following reasons:
 2          1.      This is a joint request by counsel for the Government and counsel for the
 3
     Defendant, Mr. Boyar.
 4
            2.      The additional time requested by this Stipulation is reasonable pursuant to
 5
 6   Federal Rule of Criminal Procedure 32(b)(2), which states that the “court may, for good cause,

 7   change any time limits prescribed in this rule.”
 8          3.      Both counsel request this additional time in order to allow adequate time to
 9
     research sentencing issues and to prepare for the sentencing hearing.
10
            4.      Mr. Boyar is currently detained and agrees with the continuance.
11
12          5.      This is the first request for continuance of the sentencing hearing.

13          DATED this 20th day of April, 2018.
14
         RENE L. VALLADARES                                 DAYLE ELIESON
15       Federal Public Defender                            United States Attorney

16
      By /s/ CHRISTOPHER P. FREY                        By /s/ DANIEL J. COWHIG                 .
17       CHRISTOPHER P. FREY                               DANIEL J. COWHIG
         Assistant Federal Public Defender                Assistant United States Attorney
18       Counsel for                                      Counsel for the Government
         DANIEL MARTIN BOYAR
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      Case
       Case2:17-cr-00021-JCM-EJY
            2:17-cr-00021-JCM-GWF Document
                                   Document282  Filed 04/20/18
                                            281 Filed 04/23/18 Page
                                                                Page33ofof33




 1                                           ORDER
 2         Based on the Stipulation of counsel, and good cause appearing,
 3         IT IS THEREFORE ORDERED that the Sentencing Hearing currently set for May
 4                                                       September 24, 2018 at 1030 a.m.
     22, 2018, at 10:00 AM, be vacated and continued to _____________________________.
 5
 6
                        23rd day of April, 2018.
           DATED this ______
 7
 8
 9
                                               _________________________________
10
                                               JAMES C. MAHAN
11                                             UNITED STATES DISTRICT JUDGE
                                               CASE NO.: 2:17-CR-00021-JCM-GWF
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